                     IN THE UNITED STATES DISTRICT COURT
                 IN AND FOR THE NORTHERN DISTRICT OF IOWA

DONGHYUK KIM                               )
                                           )
        Plaintiff,                         )     Case No. 6:19-cv-02037-CJW-KEM
                                           )
  vs.                                      )
                                           )
THE UNIVERSITY OF NORTHERN                 )
IOWA, MARK A. NOOK, President of the )
University of Northern Iowa in his         )
official capacity, LEAH GUTKNECHT,         )
in her individual and official capacities, )
CHRISTINA ROYBAL, in her individual )
and official capacities, LESLIE K.         )
WILLIAMS, in her individual and            )
official capacities, PAULA KNUDSON,        )
in her official capacity, NICHOLAS         )
RAFANELLO, in his individual and           )
official capacities, ALLYSON               )
RAFANELLO, in her individual and           )
official capacities,                       )
                                           )
        Defendants.                        )

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                                      INTRODUCTION

       Plaintiff Donghyuk Kim (hereinafter Plaintiff or



pursuant to Rule 12(b)(6).

       The relevant facts are

Court on September 17, 2019, in which Plaintiff alleges claims against: i) The University of




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for money damages resulting from their violations of his right to procedural due process under the

Fourteenth Amendment to the U.S. Constitution; and iii) for injunctive relief against Mark A. Nook



capacities, pursuant to 42 U.S.C. § 1983, for violations of his right to procedural due process under

the Fourteenth Amendment to the U.S. Constitution.

       As fully set forth below, Plaintiff has plausibly alleged these claims and the Court should

                              ts entirety.

                        THE ALLEGATIONS OF THE COMPLAINT

A.     Plaintiff s Background

       While attending UNI, and until Jane Roe falsely accused him of sexual misconduct,

Plaintiff had no prior disciplinary record and was well positioned to graduate. At the time of the

allegations, he was a sophomore, foreign exchange student from South Korea studying accounting.

AC ¶ 37.1 His plans to graduate from UNI, and career plans, were sidelined when UNI found him

responsible for non-consensual sexual intercourse with Jane Roe and expelled him. Id. ¶ 74, 84-

85.                                                                                         and, on

November 21, 2017, a jury of his peers acquitted him of all charges. Id. ¶ 8-9

B.     Plaintiff s Relationship with Jane Roe

       Kim and Jane Roe became friends during the 2016-17 winter break, when they were

introduced at an event for Korean students. Id. ¶ 48. Kim provided rides to Wal-Mart to Roe and

other Korean students on campus. Id. The two socialized a couple of times in a group setting. Id.




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       On March 15, 2017, Jane Roe and a friend went to a local bar and contacted Kim in the

early morning hours, asking for a ride back to campus. Id. ¶ 49. After picking them up, Kim and

his friends, along with Roe and her friend, traveled to a convenience store and then to an apartment

nearby. Id. ¶ 86. At the apartment, Roe and Kim consumed alcohol. Id. Kim eventually took Jane

Roe back to her apartment and the two sat in the car talking for a while. Kim asked Roe to come

back to his apartment and she agreed. Id. ¶ 51.



and sat on his bed. Id                                                                          . Id.

Kim reported to police that after sitting on his bed and talking for a few more minutes, Roe began

to cry when talking about her friend who was sick. Id. Roe stopped crying and Kim decided to take

Roe back to her apartment again. Id. ¶ 52. Kim and Roe talked in the car on the ride to her

apartment. Id. ¶ 53. Kim parked and he walked Roe to the front of her apartment building. Id. Roe

could not find her key card to get in to the apartment. Id. Kim asked Roe whether she wanted to

go back to his apartment and Roe again agreed. Id.



Id. ¶ 54. Roe and Kim then laid on his bed and Roe initiated sexual contact with Kim. Id. ¶ 54-55.

Kim reported to police that Roe never told him to stop, that she participated in the sexual activity,

and never expressed any negative signs which would lead a reasonable person to believe the sex

was nonconsensual. Id.

C.                                        Complaint Against Kim

       On March 16, 2017, Jane Roe reported allegations that Mr. Kim had sexually assaulted her

to a resident advisor at the University. Id. ¶ 58. The resident advisor then emailed out an incident

report. Id. The e-mail purported to describe what Roe told the resident advisor, described the nature



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                                                                                                 Id.

The incident report was e-mailed to N. Rafanello, Gutknecht, Williams and A. Rafanello. Id. ¶ 59.

The resident advisor also contacted N. Rafanello directly, due to his role as Director of Residence

                                                            Id. ¶ 60.

        On March 21, 2017, Gutknecht

met or conferred with N. Rafanello, who expressed the view that criminal charges were or should

be filed against Kim and advised his staff about issuing crime alerts related to the incident. Id. ¶

62.

        On March 23, 2017, Jane Roe filed a formal complaint with UNI alleging nonconsensual

sexual intercourse by Kim. Gutknecht met with Jane Roe in this regard.                  notes from

the meeting show that Roe was presented with a copy of the policy on sexual misconduct and

allowed to pick which policy violation occurred

Policy2 which states that the Title IX or deputy coordinator is required to make the initial

determination as to whether the information in the complaint has enough merit to reasonably

indicate there may have been a violation of policy. Id. ¶ 63.

        On March 24, 2017, Gutknecht assigned two investigators: Gary Robinson (herein

                   A. Rafanello, who were                                               . Id. ¶ 64.

Pursuant to the Sexual Misconduct Policy, Robinson and A. Rafanello were required to

      roughly and impartially interview relevant parties and witnesses and obtain available

            Id. ¶ 65.

        On May 18, 2017, Gutknecht received the investigative report from Robinson and A.

Rafanello. Id. ¶ 69. In violation of the Sexual Misconduct Policy, Gutknecht failed to render the


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required decision to approve or disapprove the investigative report, and, instead, requested edits.

Id. A series of edits were made, including by legal counsel, and a Notice of Outcome was

completed on June 2, 2017, without the investigative report ever being formally approved or

disapproved by Gutknecht. Id.



                                                                             th Plaintiff she spoke

                                                                            believed she may have

consented to sex with Plaintiff

behavior on the night in question indicated that she

¶ 96). Despite reviewing this evidence, the investigators found that it was reasonable to assume

that Plaintiff should have known that Jane Roe was unable to consent and could not have been able

to consciously decide to have sex with Plaintiff (AC ¶ 87).

       The investigators declined to make a credibility assessment of Plaintiff



statement   which the Title IX investigators had       because Plaintiff voluntarily provided that

statement to police without counsel present. (AC ¶¶ 93, 97-

he and Jane Roe spent considerable time together during the evening on which they had sex. (AC

¶¶ 49-53). Jane Roe initiated sexual contact with Plaintiff while they were laying on his bed and

made no movements or said anything that would lead one to believe that the sex was not

consensual. (AC ¶¶ 55-56). Plaintiff also stated that on the morning after the encounter he drove

Jane Roe home and, on the way, she stopped to get Plan B. During the drive she asked Plaintiff if



concern the next day was whether Plaintiff had feelings for her (AC ¶ 98)



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        The investigation report also contained highly prejudicial statements, including that Jane

                          Id. ¶¶ 86.p., 92.

        On June 13, 2017, Williams informed Kim in a written letter that he was named in a Student

Conduct referral for a possible violation of community standards and scheduled a Conduct Board

Hearing for June 19, 2017. Id. ¶ 70. Williams explicitly informed Kim that the scope of the hearing



the report. He could not cross-examine Jane Roe. Id. ¶ 70.

        Williams selected N. Rafanello as chair of the three (3) member Conduct Board, knowing

                                                                       . Id. ¶ 70, footnote 15. N.

Rafanello, thus, reviewed

whether Kim was responsible for violating

        The Conduct Board hearing was convened on June 19, 2017. Id. On June 23, 2017,

Williams informed Plaintiff that he was found responsible for violating the Sexual Misconduct

Policy, for having non-consensual sexual intercourse and sexual contact with Jane Roe while she

was incapacitated. Id. ¶ 71.



appeal submitted by Plaintiff. Id. ¶ 72. On June 28, 2017, Kim requested a one-week extension to

submit his appeal which Gutknecht denied. Id. ¶¶ 73-74. Kim submitted his appeal on June 30,

2017. Id. ¶¶ 78-80. On July 7, 2017      after he had submitted his appeal Gutknecht provided Kim



rationale for it. Id. ¶ 81.

        On August 8, 2017, Roybal, a deputy Title IX coordinator and the person responsible for

                                                                    Id. ¶ 84. On August 10, 2017,



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further appeals. Id. ¶ 85.

                                          ARGUMENT

I.      The Applicable Legal Standard

        As stated by this Court in Moore v. Healthcare of Iowa, Inc., No. 16-cv-1021-CJW, 2016

WL 6518446, at *3 (N.D. Iowa Nov. 2, 2016) (Williams, C.J.):

        When ruling on a defendant's motion to dismiss, a judge must accept as true all of
       the factual allegations contained in the complaint. Erickson v. Pardus, 51 U.S. 89,
       94 (2007). It must also grant all reasonable inferences from the pleadings in favor
       of the nonmoving party. United States v. Any & All Station Transmission Equip.,
       207 F.3d 458, 462 (8th Cir. 2000). To survive a motion to dismiss, then, the
       complaint must contain sufficient factual matter, accepted as true, to state a claim
       to relief that is plausible on its face. Iqbal, 556 U.S. at 678. A claim has facial
       plausibility when the plaintiff pleads factual content that allows the court to draw
       the reasonable inference that the defendant is liable for the misconduct
       alleged. Id. While plausibility is not equivalent to probability, it is something
        more than the sheer possibility that a defendant has acted unlawfully. Id. The
       question ... is not whether [the plaintiff] might at some later stage be able to prove
       [a claim]; the question is whether [the plaintiff] has adequately asserted facts (as
       contrasted with naked legal conclusions) to support his claims. Whitney v. Guys,
       Inc., 700 F.3d 1118, 1129 (8th Cir. 2012)       A court must also assess plausibility
       of the plaintiff's claim as a whole, not the plausibility of each individual
       allegation, Zolteck Corp. v. Structural Polymer Grp., 592 F.3d 893, 896 n.4 (8th
       Cir. 2010), draw[ing] on [its own] judicial experience and common sense. Iqbal,
       556 U.S. at 679.

The plausibility standard set forth in Iqbal and Twombly does not preclude pleading claims based



defendant. See Van Stelton v. Van Stelton, 2013 WL 3776813, at *10 (N.D. Iowa July 17, 2013)

(Bennett, J.) (collecting cases).

II.     Plaintiff Alleged Plausible Title IX Claims



Plaintiff has failed to plausibly allege an erroneous outcome claim because did not adequately



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plead that gender

allege a selective enforcement claim on information and belief. These arguments fail, and

accordingly,                                                                                   .

    A. Plaintiff Plausibly Alleged an Erroneous Outcome Claim



wrongly found to have committed an offense.3 In order to establish a violation of Title IX under

                                       a plaintiff must show (i) that there are sufficient facts to cast some

articulable doubt on the accuracy of the outcome of the disciplinary proceeding; and (ii) a

particularized causal connection between the flawed outcome and gender bias. See Yusuf v. Vassar

Coll., 35 F.3d 709, 715 (2d Cir. 1994). Defendants do not dispute that Plaintiff has alleged



proceeding, they only argue that Plaintiff has failed to allege gender bias. See Moving Br. at 7-13.

             1. Plaintiff Alleged Gender-Bias in the Decision-Making Process

         A Title IX plaintiff need only plead                                                      minimal plausible

inference of [gender] discrimination.             Doe v. Columbia U., 831 F.3d 46, 56 (2d Cir. 2016).

(emphasis added). In that regard, Iqbal does not require that the inference of discriminatory intent

supported by the pleaded facts be the most plausible explanation of the

                                                                              Id. at 57. Accordingly,



                      Doe v. Baum, 903 F.3d 575, 587 (6th Cir. 2018).


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 Plaintiff makes this allegation at Paragraph 117 of the Amended Complaint. He further alleges that he had consensual
sexual intercourse with Jane Roe and that he provided a statement to this effect to the police, without counsel present,
because he knew he did not do anything wrong. AC ¶ 56. See also AC ¶¶ 97-98. This statement was voluntarily

                                                                                                           ly assaulted a
                Id. at 2. In fact, Jane Roe told a witness in the investigation that she believed she may have consented
to having sex with Plaintiff. AC ¶ 96 o.p.

                                                           9

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        Gender bias may be shown through the statements of members of the disciplinary tribunal,

statements by pertinent university officials, or patterns of decision-making that tend to show the

influence of gender. Yusuf, 35 F. 3d at 715. See also Doe v. Miami U., 882 F.3d 579, 592-93 (6th

Cir. 2017). For insta



evaluator has been influenced by bias. Columbia U., 831 F.3d at 57. See Norris v. CU Boulder,

2019 WL764568, at ** 8-9 (D. Colo. 2019). Gender bias may also be inferred where an adjudicator

                                                                              Doe v. Marymount U.,

297 F. Supp. 3d 573, 586 (E.D. Va. Mar. 14, 2018). See Doe v. Grinnell College, 4:17-cv-00079,

SJ Opinion, ECF No. 159, at pp. 24-27.

        At least one court has also found that allegations that the plaintiff was subsequently

acquitted of criminal charges involving the same sex act a

investigation support a plausible inference of gender bias in support of an erroneous outcome

claim. Rolph v. Hobart and William Smith Colleges, 2017 WL 4174933, at * 12 (W.D.N.Y. Sept.

20, 2017). Here, Plaintiff has alleged facts which support a plausible inference of gender bias:

        Plaintiff alleged that: i) Title IX investigator A. Rafanello had conflicts of interest and was

potentially biased against Plaintiff because she also served as Assistant Dean of Students, was

invol                                               , and is married to N. Rafanello, who assumed,

without hearing from Plaintiff, that Plaintiff should face criminal charges (AC ¶¶ 20, 58, 62); ii)

N. Rafanello had conflicts of interest and potential bias against Plaintiff because he was involved

                                               made the assumption that Plaintiff would be charged

criminally                                               , was married to Title IX investigator A.

Rafanello, and chaired                Conduct Board hearing, at which he was responsible for



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                                                                       -59, 62, 70, 118.m.); iii) Gutknecht

conferred with N. Rafanello prior to meeting with Jane Roe about her allegations and then allowed

Jane Roe to select the charges against Plaintiff (AC ¶¶ 62-63); and iv) Roybal, who decided

                     ,                                                                          Deputy Title IX

Coordinator she                                                                       th Title IX (AC ¶ 16).

        Plaintiff further alleged that: i) Gutknecht permitted Jane Roe to choose the charges against

                                                                                  -63); ii) Williams limited the

                                               him from cross-examining Jane Roe through the Conduct



                                                                                                             -week

extension to file his appeal (AC¶¶ 72-77);4 iv) Roybal rubber-

118.q); and v)

after he submitted his appeal (AC ¶¶ 80-82).5

        Plaintiff also alleged that he was found responsible for nonconsensual sexual intercourse

and sexual contact with Jane Roe even t

happened. (AC ¶¶ 71, 86-101, 119). The Title IX investigation report, which was the subject of



against Plaintiff because: i) a witness reported that the day after her encounter with Plaintiff she



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                                                                         7, 2017 negates any allegation of unequal
treatment of Plaintiff as compared to Jane Roe is unavailing. See Moving Br, at 2. This correspondence was sent
                                                                                                          tomatically
                                            -                                                                -73, 83.
This occurred weeks prior
purported extension of time. The clear message was that the deadlines mattered for Plaintiff but not Jane Roe.
5

by the conflicts at play in his Title IX proceedings. See Moving Br. at 12. Winter v. Pennsylvania State U., 172 F.
Supp. 3d 756, 770 (M.D. Penn. 2016), is inapposite because in Winter the plaintiff only alleged the existence of a
conflict. See also Doe v. Purdue U., 281 F. Supp. 3d 754, 779 (N.D. Ind. 2017) (same).

                                                        11

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consented to sex with Plaintiff (AC ¶ 96.o.p.);6 and ii) a number o



¶ 96).7 Despite reviewing this evidence, the investigators found that it was reasonable to assume

that Plaintiff should have known that Jane Roe was unable to consent and could not have been able

to consciously decide to have sex with Plaintiff (AC ¶ 87). The report was then the sole evidence

reviewed by the Conduct Board and the sole subject of the hearing (AC ¶¶ 70, 118.e.).

           Plaintiff further alleged that the investigators declined to make a credibility assessment as

                                                                                                        , who was

then facing criminal charges, did not have a choice. It also failed to recognize the credibility of

                                   t    which the Title IX investigators had      because Plaintiff voluntarily

provided that statement to police without counsel present. (AC ¶¶ 93, 97-98).

account to police, he and Jane Roe spent considerable time together during the evening on which

they had sex. (AC ¶¶ 49-53). Jane Roe initiated sexual contact with Plaintiff while they were laying

on his bed and made no movements or said anything that would lead one to believe that the sex

was not consensual. (AC ¶¶ 55-56).8 Plaintiff also stated that on the morning after the encounter

he drove Jane Roe home and, on the way, she stopped to get Plan B. During the drive she asked

Plaintiff if he had feelings for her, to which he said no. (AC ¶ 96.n). Another witness confirmed

                               the next day was whether Plaintiff had feelings for her (AC ¶ 98).9


6
 See Defs. Attachment 1, at p. 18. Notably, the investigation report shows that while Jane Roe could purportedly not
remember whether she consented, she recounted the type of sex that allegedly occurred with Plaintiff as well as how
she felt during sex. See Defs. Attachment 1, at 10, 11, 18
7

drunk. The roommate, Witness D, also said that he and Plaintiff had personality differences, which was not questioned
by investigators. Defs. Attachment 1, at 12-14. Witness D told investigators that he knew that Jane Roe and Plaintiff
8
    See Attachment 1, at p. 11.
9
    See Defs. Attachment 1, at p. 20.

                                                        12

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sexual intercourse, the investigation report contains facts that suggest that the Title IX investigators

had outdated and discriminatory views concerning gender and sexuality. The first indicator is that

                                                                                  their finding, which

suggests a belief that a woman who is a virgin would not consent to a casual encounter with

Plaintiff

statement to police that Jane Roe initiated sexual contact with him (AC ¶ 55-56), suggesting a

belief that females are passive in sexual encounters. That Jane Roe initiated the sexual encounter



encounter was whether or not Plaintiff had feelings for her. (AC ¶¶ 98).

          Finally, Plaintiff was acquitted by a jury of the same charges brought against him through

                                    -10).

          The totality of these circumstances plausibly allege that gender bias was a motivating factor



denied.

             2. Plaintiff Alleged That Pressure on UNI Created A Backdrop for Gender Bias

          Evidence that a college has been placed under federal investigation, severely criticized for

its failure to protect female sexual assault victims and is under pressure to correct its perceived

                                                                                                Doe v.

Baum, 903 F.3d 575, 586-587 (6th

credibility determinations in favor of females on a cold record raised plausible inference of gender

bias). See also Miami U., 882 F.3d at 592-93 (plausible inference of gender bias where inter alia




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student).

        Here, Plaintiff alleged that: i) in May 2011, UNI was cited by the U.S. Department of

Education              as 1 of only 3 universities that were in violation of the Clery Act and the

Department called for civil penalties against the University (AC ¶ 29); ii) in December 2011, UNI

was publicly criticized and faced a lawsuit concerning its mistreatment of a female victim of sexual

assault, causing it to conduct an audit of its Title IX practices (AC ¶ 30); iii) in March 2013, UNI

settled a lawsuit with a former student who alleged that administrators reacted poorly after she

filed a report of being sexually assaulted in her dorm room (AC ¶ 31); iv) in March 2013, DE fined



                                                                                                    2); v) in April

2015, the student newspaper reported that UNI had conducted an administrative review and altered

its hearing panel model in sexual misconduct in response to 2014 Guidance from the Office for

Civil Rights               (AC ¶ 35)10; and vi) in April 2015, Gutknecht said in a statement to the

student newspaper that all that was needed in sexual misconduct cases was a minimal conduct



                      hese allegations, and the allegations set forth supra Point II.A.1, together create



        Defendants allege that any pressure placed on UNI, had to occur at, or close to, the time in

                                                                                  -11. This is not a pleading

requirement. In Miami University,

of pressure placed on the university by the federal government, a lawsuit brought by a female


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   Notably, the 2014 Guidance advised universities to conduct hearings in a manner that does not cause additional
trauma for the complainant. AC ¶ 33.

                                                        14

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student, and corresponding criticism dating back between 2011 and 2013            sufficiently stated a

cla                                                                                      Id. See also

Harnois v. University of Mass. at Dartmouth, 2019 WL 5551743, at *4 (D. Mass. Oct. 28, 2019).

       Defendants further argue that there is no indication that University administrators noted



Moving Br. at 11. On the contrary, Plaintiff alleged that, in response to the various pressures cited

in the Complaint, the University publicly announced that it would conduct an audit of its Title IX

policies and practices (AC ¶ 30), that it changed its conduct panel composition and Title IX process

                                                                                                     e



back in to re-tell the story (AC ¶ 36).

       For the above stated reasons, Plaintiff has plausibly alleged that the pressure placed on UNI

in the years leading up to the Title IX disciplinary proceedings created a backdrop against which

gender bias can be inferred given the other conflicts, biases and procedural infirmities that Plaintiff

has alleged.

           3. The Use of a Trauma-Informed Approach Supports an
              Inference of Gender Bias

                                                       -informed approach in Title IX proceedings is

insufficient evidence of gender-bias. Moving Br. at 9. As pointed out in Rossley v. Drake U., 344

F. Supp. 3d 927-928 (S.D. Iowa 2018), a summary judgment opinion cited by Defendants, a

trauma-informed approach may support an inference of gender bias if there is evidence of gender

bias in its application. Id. Recently, in Norris v. CU Boulder, 2019 WL 764568, at *9, the court

                                                                                            -informed

                                                                 account, were facts that supported a

                                                  15

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claim of gender bias at the motion to dismiss stage. Similar to the plaintiff in Norris, Plaintiff,

here, has alleged that UNI was required to adopt a trauma-informed approach in response to OCR

Guidance (AC ¶ 33), that the administrators involved in his Title IX proceedings were trained in

this approach (AC ¶¶ 118.b., 119.b.), and that the manner in which they employed this approach

was gender-                                                                                       hile



may have given Plaintiff consent (AC ¶¶ 99, 119 a., b). At this stage of the action, these allegations

                                                    r bias.

       For all of the above-



       B.      Plaintiff Alleged a Plausible Selective Enforcement Claim

       Defendants assert that Plaintiff                       ement claim should be dismissed because

he fails to specifically identify a female comparator who was treated more favorably by UNI and,

instead, alleges his claim on information and belief. Moving Br. at 13-14. It is well established that

a claim may be pled on information and belief and still satisfy Iqbal/Twombly, providing that the

information which could support the claim is in the exclusive possession of the defendant. Van

Stelton, 2013 WL 3776813, at *10. Indeed, a number of courts have declined to dismiss Title IX

claims, including for selective enforcement, where the information necessary to support the claim

was in the exclusive possession of the university. See Trustees of the U. of Penn., 270 F. Supp.

799, 824 (E.D. Pa. 2017) (selective enforcement claim could proceed to discovery even though

complaint alleged that comparator information in exclusive possession of university); Doe v.

Brown U

demonstrate, at the pleading stage, with statistical evidence and/or data analysis that female



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students accused of sexual assault were treated differently, is both practically impossible and

                                                                       Ritter v. Oklahoma City U.,

2016 WL 3982554 at **2-3 (W.D. Okla. July 22, 2016) (allegations of gender bias pled on

information and belief met Twombly standard).

                                                                           n

              See Moving Br. at 13. In support of his selective enforcement claim Plaintiff alleges

that:

         as compared to female students accused of sexual misconduct, the number of male
         students found responsible for policy violations is far greater. As compared to

         misconduct policy, Northern Iowa has imposed far more severe and unduly harsh
         sanctions on male students.

Plaintiff was unable to get data to support this allegation from public sources. AC ¶ 123 & n. 24.




conclusory, but grounded in the gender discrimination that he experienced with respect to the Title

                                                                    86-101.



claim should be denied.

III.     Plaintiff Alleged A Plausible Procedural Due Process Claim



dismissed because: a) Plaintiff failed to exhaust his remedies prior to filing this lawsuit; b) the

individual Defendants have qualified immunity; and c) a claim has not been alleged against

Defendants Nook, Williams and Knudson in their official capacities. As fully set forth below,




                                                17

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except with respect to Knudson,11                                          fail and the Court should deny that



           A. Plaintiff Was Not Required to Exhaust His Post-Deprivation Remedies

           Defendants misstate the law on exhaustion of remedies when arguing for the dismissal of

                                                 .                                                                 nt to

have exhausted available postdeprivation remedies when the litigant contends that he is entitled to

predeprivation                   Keating v. Nebraska Public Power Dist., 562 F.3d 923, 929 (8th Cir.

2009). See also Raymond v. Bd. of Regents, 847 F.3d 585, 590 (8th Cir. 2017); Hopkins v. City of

Bloomington, 774 F.3d 490, 491 (8th Cir. 2014)12                                                         -deprivation

procedural due process claim failed as a matter of law such that post-deprivation process was sole

issue); C. Line, Inc. v. City of Davenport, 957 F. Supp. 2d 1012, 1034-1035 (S.D. Iowa 2013).

Here, Plaintiff alleges that UNI violated his right to procedural due process predeprivation, or

before he was expelled.

           As alleged in the Amended Complaint,

interest without affording him basic due process, including but not limited to, his right to a fair

adjudication, his right to be heard by an impartial factfinder, to question his accuser, to challenge

her credibility and the credibility of other adverse witnesses and to adequately present evidence

and witnesses in his defen            AC ¶ 141. Plaintiff then outlines a number of due process violations

that occurred prior to his expulsion. AC ¶ 142. See id. ¶¶ 58-85 (outlining violations that occurred

                                                                                                al due process claim


11
     Plaintiff agrees with Defendants that Paula Knudson should be dismissed from the action. See Moving Br. at 24.
12
     The remaining cases cited by Defendants are inapposite. In                                 , 213 F.3d 1016, 1017

challenged the post-deprivation procedures in place pursuant to state law. Likewise, in Crooks v. Lynch, 557 F.3d 846,
848-849 (8th Cir. 2009), the plaintiff asserted a due process claim concerning the appeal process in place for addressing
the termination of his employment. The appeal was pending. In Anderson v. Douglas County, 4 F.3d 574, 577-578
(8th Cir. 1993), the plaintiff elected not to participate in a pre-deprivation hearing or file a post-deprivation appeal.

                                                          18

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defense is meritless.

           Assuming arguendo that Plaintiff were required to exhaust his administrative remedies

with respect to the Title IX proceedings against him, he did precisely that. As alleged in the

                                                                                     ,

                                      Once an appeal is decided, the outcome is final: further appeals are

n                                                                                                   -2, at IV.C.6.

           B. The Due Process Claim Against the Individual Defendants Is Not Barred
              By the Doctrine of Qualified Immunity



is barred by the doctrine of qualified immunity, Defendants do not dispute that Plaintiff has a

protected property interest in his education.13 Moving Br. at 17-21. Nor do Defendants address

whether Plaintiff has plausibly alleged that Defendants deprived him of his constitutionally

protected property interest by violating his right to due process in the Title IX disciplinary

proceedings at issue in this action. Defendants solely

                         with respect to the alleged due process violations. Moving Br. 19-21. On the

contrary, Plaintiff had a clearly established right to the due process protections that he alleges were

either                                                                                                     including

a fair hearing and the right of cross-examination.




13
     Plaintiff has alleged a property interest in his continuing education, inc

                                                                                                                actual
                                                                     See Goss v. Lopez, 419 U.S. 565 (1975); Monroe v.
Arkansas State U.
his education at state university constituted a constitutionally protected interest); Ikpeazu v. Univ. of Nebraska, 775
F.2d 250, 253 (8th Cir. 1985) (property interest arose from contractual relationship between University and Student
set forth in grievance procedures, giving plaintiff right to nonarbitrary grading).

                                                             19

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         At a minimum, due process requires notice and an opportunity to be heard at a meaningful

time and in a meaningful manner. Mathews v. Eldridge, 424 U.S. 319, 333 (1976). In the Eighth



                                                                                                                   nd

with all necessary protective measures               Jones v. Snead, 431 F.2d 1115, 1117 (8th Cir. 1970)

(emphasis added). Disciplinary proceedings require more stringent procedures because unlike

academic proceedings that involve qualitative evaluations, disciplin

                                                                                         Allahverdi v. Regents of

University of New Mexico, 2006 WL 131380 at *14 (D.N.M. Apr. 25, 2006). See Goss v. Lopez,

419 U.S. 565, 579-580 (1975); Neal v. Colorado State U., 2017 WL 633045 at *24 (D. Co. Feb.

16, 2017)

             . In Spring 2017, Plaintiff had a clearly established right to heightened due process

protections beca                                                                                          disciplinary

proceedings.14

         1. Plaintiff Had A Clearly Established Right to An Impartial Process



                                                                                                               C-Line,

Inc., 957 F. Supp. 2d at 1040 (collecting cases). Although admi




           Id. (quoting United States                                              , 213 F.2d 759, 765 (8th Cir.

1954)). The right to a fair and impartial process is well established by existing case law, including


14
  Plaintiff was also the subject of a police investigation at the time of the Title IX investigation. He was
subsequently acquitted after a jury trial. AC ¶¶ 7-9.

                                                           20

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during                                           investigated and adjudicated, in Spring/Summer

2017. C-Line, Inc., 957 F. Supp. 2d at 1040. See also Miami U., 882 F.3d at 604 (finding that right

to impartial adjudicator was clearly established due process right in Fall 2014).

         The right to an impartial tribunal was also clearly established by OCR Guidance in effect

since 2011, more specifically,

2011 DCL expressly required the impartial investigation and adjudication of sexual misconduct

allegations, n

                 Id. at p. 12.                                             -supported schools must

                                                  Id. Given the well-established law of the Circuit,

as well as the applicable OCR guidance, Defendants Gutknecht, Williams, Roybal, N. Rafanello

and A. Rafanello reasonably should have known that their bias, and the unfairness in the

procedures employed,                         clearly established right to an impartial disciplinary

process.



i) bias and conflict infected the Title IX process from start to finish; ii) N. Rafanello, who was

                                                                                         as the chair



IX investigators; iv) A. Rafanello also served as Assistant Dean of Students, creating a conflict; v)

Gutknecht appointed A. Rafanello to serve as an investigator; vi) N. Rafanello was responsible for

                                                                            Plaintiff; vii) Williams

appointed N. Rafanello to chair the Conduct Board

conducted the investigation; and viii) Roybal, a Title IX Coordinator responsible for ensuring




                                                 21

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                                                                                      AC ¶¶ 6, 15-20,

62, 70.

          Plaintiff also alleged that the administrators involved in the Title IX process were trained

in a manner which engendered bias against male respondents. AC ¶¶ 5, 118.a., 119.b., 157.b.

          The investigation report, which was exclusively relied upon by the Conduct Board, also

evidenced bias in the process because it showed that the investigators: i) never questioned Jane

                                                           including telling a witness that she may

have consented to having sex with Plaintiff        and her reported concern after they had sex was

whether Plaintiff liked her (AC ¶¶ 4, 96.m, 96r., 98-99); ii) assumed that Jane Roe was

incapacitated and could not have consented to sex even though there was evidence cited in the

report that demonstrated that Jane Roe was not incapacitated and that Plaintiff could not have

reasonably known that she was (AC ¶¶ 87-91, 96-97

based on his statement to police because they could not interview him in person due to pending



their sexual contact (AC ¶97); and v) included irrelevant and inflammatory statements in the report,

including that Jane Roe had a torn hymen (AC ¶ 92).

          Plaintiff further alleges an unfair process because: i) N. Rafanello, who later presided over

the hearing, assumed that Plaintiff should be subject to criminal charges (AC ¶ 62); ii) Gutknecht,

                                     olicy, allowed Jane Roe to select the policy violation(s) that

Plaintiff should be charged with (AC ¶ 63); iii)

(AC ¶ 69); iv)                                                                                     that

the sole purpose of the hearing was to review the investigative report (AC ¶ 70); v) Plaintiff was

denied access to the evidence gathered by the Title IX investigators and could not adequately



                                                   22

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prepare for the hearing (AC ¶ 78); vi) the conduct board members that participated in the hearing

were not provided with the full record (Id.); vii) at the hearing, Plaintiff was not permitted to ask

questions of Jane Roe, even through the conduct board (AC. ¶ 4); viii) the conduct board members

adopted the biased investigation report (AC ¶ 4); ix) Plaintiff did not receive a deliberation report

from the conduct board hearing until after

82); x) the deliberation report provided no rationale for the decision to expel him (AC ¶ 81) and

xi) Williams unilaterally granted Jane Roe an extension of time in which to appeal while denying

                                       C ¶¶ 72-77). See also AC ¶ 142.

       These allegations support a procedural due process claim against the individual Defendants

                                                                             and impartial process.

       2. Plaintiff Had A Clearly Established Right to Review the Evidence Against Him

       As set forth by the United States Supreme Court in Goss v. Lopez, 419 U.S. at 581, in



explanation of the evidence the authorities have and an oppo

Id. See Miami U., 882 F.3d at 603 (failing to provide disciplinary file relied upon in drafting report

was equivalent of failure to explain evidence); Norris, 2019 WL 764568, at *14 (delay in providing

access to evidence against plaintiff plausibly alleged due process violation). This level of due

process is required in cases in which a student faces the far less serious consequence of a short-

term suspension and, accordingly, greater protections are warranted in a

where expulsion is a potential sanction. Id. at 584.

       Here, Plaintiff alleges that he was denied a proper explanation of the evidence as Gutknecht

denied him access to the evidence relied upon in writing the investigation report, including witness




                                                 23

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statements, prior to the hearing. AC ¶¶ 4, 78, 142.e. This prevented Plaintiff from meaningfully

participating in the hearing. AC ¶ 142.e.

        Defendant

process right to an explanation of the evidence against him, as well as a meaningful opportunity to



        3. Plaintiff Had A Clearly Established Right of Cross-Examination

        As of Spring/Summer 2017, Plaintiff has a clearly established right to conduct a cross-

examination at his hearing. See Dillon v. Pulaski Cty. Special Sch. District, 594 F.2d 699, 700 (8th

Cir. 1979). See also Flaim v. Medical College of Ohio, 418 F.3d 629, 641 (6th Cir. 2005) (where

case involves choice between accuser and accused cross-examination is essential to due process);

Winnick v. Manning, 460 F.2d 545, 550 (2d Cir. 1972); Doe v. Ohio State U., 219 F. Supp. 3d 645,

663 (S.D. Ohio 2016) (same); Doe v. Brandeis U., 177 F. Supp. 3d 561, 604 (D. Mass. 2016)

ability to cross-                                                                           ; Furey v.

Temple U., 884 F. Supp. 2d 223, 251-252 (E.D. Pa. 2012)                           ed that the plaintiff

be able to cross-                       . More recent cases have also held that, in cases where

credibility is at stake, due process requires that cross-examination be allowed in student

disciplinary cases. See Baum, 903 F.3d at 581-582; Doe v. U. of Cincinatti, 872 F.3d 393, 401 (6th

Cir. 2017); Norris, 2019 WL 764568, at *15.

        Plaintiff has alleged that this clearly established due process right was violated by Williams

who narrowed the scope of the hearing to only include discussion of the investigation report and

specifically advised Kim that he was only allowed to ask clarifying questions about the report. AC

¶¶ 70, 118.f.




                                                 24

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established right of cross-examination when she precluded Plaintiff from cross-examining Jane

Roe at the hearing in a clear case where the Conduct Board had to choose between the account

given by the accuser versus the accused.

            For the above-stated reasons, the Court should deny Defendan



A. Rafanello as individual Defendants.15

            C.

            Plaintiff does not seek money damages with respect to his procedural due process claim

against Defendants Nook, Gutknecht. Roybal, Williams, N. Rafanello and A. Rafanello in their

official capacities. Rather, he seeks injunctive relief against these Defendants. AC ¶ 148.

Defendants concede                                                                       -capacity claims for

                                                    Moving Br. at 21, n. 8. Defendants further concede that to

the extent Plaintiff seeks injunctive relief against Defendants Gutknecht, Roybal, N. Rafanello and

A. Rafanello in their official capacities that these claims should not be dismissed. Moving Br. at

21 n. 8, 22-24 (seeking dismissal of due process claim only as to Nook, Williams and Knudson).

            With respect to Nook, Plaintiff has alleged a due process claim against the President in his

official capacity. More specifically, Plaintiff has alleged, upon information and belief,

is the Univer

to third-                           AC ¶ 14. Defendants do not address this allegation. In this role, Nook

would be the University official responsible for carrying out any court-ordered injunctive relief




15
     As set forth infra Plaintiff is only seeking injunctive relief against Nook.

                                                              25

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and, accordingly, should not be dismissed from the action. See, e.g., Doe v. DiStefano, 2018 WL

2096347, at **3-4 (D. Colo. May 7, 2018).

       Plaintiff has also alleged an official capacity claim against Williams because, contrary to



had a clear conflict of interest to serve as Chair of the Conduct Board assigned to

hearing. AC ¶¶ 70, n. 16, 142.c. As discussed supra Plaintiff also alleged that Williams violated



to exclude cross-examination. AC ¶ 70. Williams also unilaterally provided Jane Roe with an

extension of time to resp

                                                                           -73.

       For the above-

                       claim, for injunctive relief, against Nook, Gutknecht, Roybal, Williams, N.

Rafanello and A. Rafanello in their official capacities.

IV.    Plaintiff Plausibly Alleged A Breach of Contract Claim



breach of contract claim. Defendants argue, without basis, that Plaintiff failed to allege the

existence of a contract in support of his breach of contract claim (Count III). Moving Br. at 25. It



and that the policies and procedures set forth in a student handbook, or other statement of policy,

constitute an enforceable contract. Corso v. Creighton U., 731 F.2d 529 (8th Cir. 1984) (applying

federal case law). See Ikpeazu v. U. of Nebraska, 775 F.2d 250, 254 (8th Cir. 1985) (relying on

Corso); Rossley v. Drake U., 342 F. Supp. 3d 904, 944-945 (S.D. Iowa 2018) (denying summary




                                                 26

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judgment on breach of contract claim which alleged that University breached sexual misconduct

policy by failing to conduct equitable investigation and apply correct burden of proof).

                                                        Warren v. Drake University, 886 F. 2d 200

(8th Cir. 1



the jury              Warren, 886 F.2d at 201 (emphasis added). See Moving Br. at 25-26.

Accordingly, Defendants argument that the Court should determine, as a matter of law, that there

is no contract is not only meritless but nonsensical. Moving Br. at 26. Notably, in Warren, the jury

found that that honor code and the studen

university.

       Harvey v. Palmer College of Chiropractic, 363 N.W.2d 443 (Iowa Ct. App. 1984) is also

distinguishable because it was not a breach of contract action. Rather, the court addressed the

requirements imposed on private universities vis-à-vis their students under the common law. The

court held that private universities have common law obligations which parallel due process under

the Fourteenth Amendment, and, for this reason, analyzing the relationship of a private university

under either the law of contracts or the law of associations is not a perfect fit. The court agreed



school to follow the estab

whether the university substantially complied with its written regulations should have been

submitted to the jury. Id. at 446. Slaughter v. Brigham Young University, 514 F.2d 622 (10th Cir.

1975), also analyzed a contract claim against a private university invoking similar principles to the

Harvey court.




                                                 27

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           Tibbetts v. Yale Corporation                                                                 one chapter



                                                                                                  Id. The Court did

not find that there were no contractual obligations with respect to the plaintiff but, as alleged by

the plaintiff, the university breached no contractual obligations with the plaintiff.



created a contract between Plaintiff and UNI sufficiently allege the existence of a contract at this



decide which documents comprise the contract. Defendants do not take issue with the numerous,

specific breaches of express agreements that Plaintiff alleged in the Amended Complaint. See AC

¶ 157.16

           Defendants also argue

                                          or that he performed the terms and conditions required of him

under the contract. Moving Br. at 26-27. On the contrary, Plaintiff alleged that: (i) he paid his



UNI (AC ¶ 38); and (iii) Pla

Misconduct Policy (AC ¶¶ 55-57, 80, 91, 93, 96).

           For the above-




16
     Plaintiff agrees with Defendants that UNI has immunity to the extent that Plaintiff seeks recovery for breaches of

                                                                                                          exual
Misconduct Policy. AC ¶¶ 156, 157, 158. Notably, Defendants have not asserted immunity with respect to breaches
of the covenant of good faith and fair dealing implied in all contracts. AC ¶ 155.

                                                           28

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                               CONCLUSION

       For all t



Court deems just and proper.

Dated: November 5, 2019



                                  Respectfully Submitted,

                                  ___/s/_______________________________
                                  Thomas P. Frerichs AT0002705
                                  P.O. Box 328
                                  106 East 4th Street
                                  Waterloo, Iowa 50704-0328
                                  Phone: (319) 236-7204
                                  FAX: (319) 236-7206
                                  tfrerichs@frerichslaw.com


                                  NESENOFF & MILTENBERG, LLP

                                  /s/Andrew T. Miltenberg___
                                  Andrew T. Miltenberg, Esq.
                                  363 Seventh Avenue, Fifth Floor
                                  New York, New York, 10001
                                  (212) 736-4500
                                  amiltenberg@nmllplaw.com

                                  ATTORNEYS FOR PLAINTIFF




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